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UNITED STATES DISTRICT COURT FOR THE ia
MIDDLE DISTRICT OF FLORIDA ; the ie PY
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GILBERTO SOTO, Pe £39
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Plaintiff, .
vs. Case No.: 6:10-CV-1848-ORL-28-KRS -

MONARCH RECOVERY MANAGEMENT, INC.

Defendant

 

JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
It is stipulated by and between the parties to the above-entitled action, by and through
their respective attorneys of record, that the action be dismissed with prejudice and that an Order

be entered without further notice.

 

 

 

Dated: MGR 7, Jot Dated: MAt4 IY ot

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